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            UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                              CENTRAL DIVISION


 PAUL HUTCHINSON, an individual; and
 DESTINARE LLC, a Utah limited liability
 company,                                           ORDER GRANTING DEFENDANT’S
                                                    MOTION FOR ECF ACCESS FOR THE
        Plaintiffs,                                 LIMITED PURPOSES OF RECEIVING
                                                    NOTIFICATIONS (DOC. NO. 43)
 v.
                                                    Case No. 2:20-cv-00796-RJS-DAO
 J. KAHEALANI KAMAUU, an individual;
                                                    Chief Judge Robert J. Shelby
 ROI COMPANIES LLC, a Hawaii limited
 liability; HALE MALUHIA ESTATE LLC, a              Magistrate Judge Daphne A. Oberg
 Hawaii limited liability company,

        Defendants.


       Before the court is pro se Defendant J. Kahealani Kamauu’s motion to receive notification

by email (Doc. No. 43). Upon review, the court GRANTS Mr. Kamauu’s motion. The clerk’s

office is directed to use the following email address to correspond with Mr. Kamauu:

kkamauu@roicompanies.com. This order, and all other notifications going forward shall be sent

to Mr. Kamauu using the above email address.

       Further, Mr. Kamauu is ORDERED to promptly file a notice with the court if he has a

change of email address.

       DATED this 10th day of December, 2021.


                                                    BY THE COURT:


                                                    ______________________________
                                                    Daphne A. Oberg
                                                    United States Magistrate Judge
